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                                UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                             Original Plan
                        ■     Fifth                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                      Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Marty-Taylor Bey                                JOINT DEBTOR:                                               CASE NO.: 19-23123
SS#: xxx-xx- 5973                                           SS#: xxx-xx-
I.          NOTICES
            To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                 and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                 Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                 filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                 be reduced, modified or eliminated.
            To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                 box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                           Included       ■    Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                           Included       ■    Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                          Included       ■    Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $938.08               for months    1    to 48 ;

                   2.                         for months         to        ;

                   3.                         for months         to        ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                             ■      NONE    ■   PRO BONO
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
          1. Creditor: Bayview Loan Servicing LLC
                Address: Bayview Loan Servicing,           Arrearage/ Payoff on Petition Date       $14,481.13
                         LLC
                                                            Regular Payment (Maintain)                           $551.11      /month (Months   1   to 48 )
                         4425 Ponce De Leon
                         Blvd., 5th Floor                   Arrears Payment (Cure)                               $301.69      /month (Months   1   to 48 )
                         Coral Gables, FL 33146




           Last 4 Digits of
           Account No.:                6326
          Other:


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          ■ Real Property                                                             Check one below for Real Property:
                  ■ Principal Residence                                                     Escrow is included in the regular payments
                       Other Real Property                                             ■ The debtor(s) will pay      ■ taxes    ■ insurance directly

         Address of Collateral:
         1105 NW 151 Street, Miami, FL 33169

             Personal Property/Vehicle
         Description of Collateral: Debtor's homestead
            B. VALUATION OF COLLATERAL:                          ■    NONE
            C. LIEN AVOIDANCE                  ■   NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■   NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                           NONE
                       ■   The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                           confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                           codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor                 Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          Miami-Dade County                3400                         1105 NW 151 Street, Miami, FL 33169
                       1. Stormwater Utility
                          Miami-Dade County                0750                                1105 NW 151 Street, Miami, FL 33169
                       2. Code Enforcement

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ■ NONE
            B. INTERNAL REVENUE SERVICE:                         ■    NONE
            C. DOMESTIC SUPPORT OBLIGATION(S): ■ NONE
            D. OTHER:             ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
                                                    A. Pay                        /month (Months             to     )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■   If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                          ■   NONE
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                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                          Joint Debtor
  Marty-Taylor Bey                                        Date                                                                Date



  Carolina A. Lombardi                       June 25, 2020
   Attorney with permission to sign on                  Date
            Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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